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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

   ANDY KIM, in his personal
   capacity as a candidate for U.S.
   Senate, et al.,
                                             Civil Action No. 24-1098 (ZNQ)
                     Plaintiffs,             (TJB)

   v.

   CHRISTINE GIORDANO
   HANLON, in her capacity as
   Monmouth County Clerk, et al.,

                     Defendants.


   AMICUS CURIAE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                   PRELIMINARY INJUNCTION
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                                   INTRODUCTION

        New Jersey’s county line system for primary election ballots is a national

  outlier, used by no other state. And for good reason. As Plaintiffs’ filings make

  clear, the county line massively distorts election results, conferring an enormous

  advantage to candidates on the line and a nearly insurmountable handicap to all

  other candidates. Plaintiffs’ statistics about the magnitude of this skew are

  astonishing. Between 2002 and 2022, the difference between being on and off the

  county line for congressional candidates “ranged from 13 to 79 percentage points,

  with a median of 36 percentage points.” Compl. Ex. C, at 3. The loss rate for

  incumbents running off the county line over this period (52.6%) was nearly 38

  times higher than the loss rate for incumbents running on the line (1.4%). Id. at 4.

  In a novel experiment conducted for this litigation, congressional candidates placed

  on the county line in New Jersey’s Seventh and Eighth Districts more than doubled

  their vote shares, drawing over twenty percentage points more support simply

  because of their ballot positions. Compl. Ex. B ¶ 175.

        New Jersey’s county line system is unique, but federal litigation over the

  constitutionality of electoral regulations is entirely familiar. The purpose of this

  brief is to compare the county line to other electoral practices that courts and

  scholars have previously analyzed. First, the distortive effect of the county line is

  far greater—at least an order of magnitude larger—than those of frequently



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  litigated measures like photo ID requirements for voting, proof-of-citizenship

  requirements for registering to vote, voter roll purges, and cutbacks to early and

  absentee voting. Yet these laws have often been subjected to heightened scrutiny,

  even invalidated, despite their much smaller impacts. Second, the county line is

  also far more distortive than the ballot design policy of automatically listing certain

  candidates first (like candidates from the governor’s party). Yet numerous federal

  and state courts have nullified ballot primacy rules because they unjustifiably

  manipulate voters’ choices at the polls. And third, while the county line conveys

  party endorsements, its influence on election outcomes remains large even when

  it’s disentangled from them. This shows that the county line’s distortive effect is

  the product of ballot design, not the transmission of information about parties’

  preferred candidates to voters.

        Accordingly, this Court should hold that the county line system is

  unconstitutional and mandate its replacement by the office-block ballot structure

  used by every other state (as well as two New Jersey counties). As this brief

  stresses, the unlawfulness of the county line is underscored by the many cases in

  which courts have struck down significantly less distortive electoral regulations.

                            STATEMENT OF INTEREST

        Amicus curiae Election Law Clinic at Harvard Law School (“ELC”) is a

  clinical legal program committed to protecting free and fair elections through



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  litigation and legal advocacy. Its mission is to train the next generation of election

  lawyers and to bring novel academic ideas to the practice of election law. ELC

  aims to build power for voters, not politicians, and recognizes that the struggle for

  voting rights is a struggle for racial justice. ELC has represented parties in partisan

  gerrymandering, racial gerrymandering, and voter suppression litigation. See e.g.,

  Jacksonville Branch of the NAACP v. City of Jacksonville, 635 F. Supp. 3d 1229

  (M.D. Fla. 2022); Citizens Project v. City of Colorado Springs, No. 1:22-cv-01365

  (D. Colo. 2022); Clarke v. Wis. Elections Comm’n, 998 N.W.2d 370 (Wis. 2023);

  Mont. Democratic Party v. Jacobsen, 518 P.3d 58 (Mont. 2022).

        ELC writes in order to compare New Jersey’s county line system for

  primary election ballots to other electoral policies assessed by courts and scholars.

  ELC hopes this comparative perspective will prove useful to the Court by

  illuminating how much more distortive the county line is than essentially all other

  modern electoral practices.

                                         ARGUMENT

I.      Courts Have Routinely Applied Heightened Scrutiny to, and
        Invalidated, Electoral Regulations with Far Smaller Effects than the
        County Line.

        In courtrooms across the country, litigants frequently allege that electoral

  regulations violate the First and Fourteenth Amendments and their state

  constitutional analogues. See, e.g., Richard L. Hasen, Record Election Litigation



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  Rates in the 2020 Election: An Aberration or a Sign of Things to Come?, 21

  Election L.J. 150 (2022). Some of these suits succeed and some fail. But almost all

  of them have one thing in common: They involve policies whose effects on

  election results pale compared to the impact of the county line. This section

  addresses “generic” measures pertaining to issues other than ballot design. The

  next section zeroes in on ballot primacy rules, arguably the litigated provisions

  most similar to the county line. The final section distinguishes the county line from

  party endorsements that are communicated without warping ballots.

        To be sure, the empirical evidence emphasized by most of this litigation

  relates to voter turnout (or other metrics of voter participation), not voters’ choices

  among candidates. But it’s plain that a regulation’s distortive effect on voters’

  choices is an aspect of “the character and magnitude” of the voting burden it

  imposes. Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). Consider a policy (not

  unlike the county line) that prevents no one from casting a ballot but guarantees

  that a favored candidate will win a supermajority of the vote. This policy levies a

  heavy burden on both the voters who support other candidates and those inevitably

  defeated candidates. Indeed, for them, the policy is indistinguishable in operation

  from one overtly disenfranchising all backers of unfavored candidates.

        Over the last couple decades, photo ID requirements for voting have likely

  been the most controversial voting restrictions. Despite the furor over these



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  measures, most studies find that their effects on election outcomes are minor: less

  than one percentage point. See, e.g., Enrico Cantoni & Vincent Pons, Strict ID

  Laws Don’t Stop Voters: Evidence from a U.S. Nationwide Panel, 2008-2018, 136

  Q.J. Econ. 2615, 2637, 2645 (2021); Zoltan Hajnal et al., Voter Identification Laws

  and the Suppression of Minority Votes, 79 J. Pol. 363, 372 (2016). The reason for

  this marginal impact is that, while many eligible voters lack valid photo IDs, few

  individuals who do vote (in states without photo ID laws) or would vote (in states

  with these laws) are missing proper identification. See, e.g., Bernard L. Fraga &

  Michael G. Miller, Who Do Voter ID Laws Keep from Voting?, 84 J. Pol. 1091,

  1103 (2022); Phoebe Henninger et al., Who Votes Without Identification? Using

  Individual-Level Administrative Data to Measure the Burden of Strict Voter

  Identification Laws, 18 J. Empirical Legal Stud. 256, 258 (2021).

        Notwithstanding these small electoral effects, numerous courts have applied

  heightened scrutiny to, and invalidated, photo ID laws, especially under state

  constitutional counterparts to the First and Fourteenth Amendments. These courts

  have reasoned that even small electoral effects are cognizable voting burdens.

  These courts have also found no state interests that could justify these burdens

  since in-person voter impersonation—the main evil sought to be prevented by

  photo ID laws—is practically nonexistent today. See, e.g., Martin v. Kohls, 444

  S.W.3d 844 (Ark. 2014); Applewhite v. Pennsylvania, No. 330 M.D.2012, 2012



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  WL 4497211 (Pa. Commw. Ct. Oct. 2, 2012); Weinschenk v. Missouri, 203 S.W.3d

  201 (Mo. 2006).

        Proof-of-citizenship requirements for registering to vote are similar to photo

  ID laws in that they too demand documentation to participate in the electoral

  process. These requirements make it more difficult for eligible voters to be placed

  on the voter rolls. In turn, voter purges—the terminations, sometimes erroneous, of

  individuals’ voter registrations—make it easier for eligible voters to be taken off

  the voter rolls. Both proof-of-citizenship requirements and voter purges can result

  in eligible voters being unable to cast ballots. But both policies have negligible

  electoral impacts. This is because they affect too few people to make a difference

  in all but the closest elections. See, e.g., Gregory A. Huber et al., The Racial

  Burden of Voter List Maintenance Errors: Evidence from Wisconsin’s

  Supplemental Movers Poll Books, Sci. Advances, Feb. 17, 2021, at 5. It’s also

  because “today’s registration laws,” in general, have minimal “partisan

  implications.” Benjamin Highton, Voter Registration and Turnout in the United

  States, 2 Persps. on Pol. 507, 510 (2004).

        Despite these muted electoral effects, courts have repeatedly blocked both

  proof-of-citizenship requirements and voter purges. The Tenth Circuit recently

  enjoined Kansas’s proof-of-citizenship law, finding that it “imposed a significant

  burden on the right to vote” and that the state lacked any sufficient “interest [that]



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  made it necessary to burden voters’ rights here.” Fish v. Schwab, 957 F.3d 1105,

  1132-33 (10th Cir. 2020); see also, e.g., Mi Familia Vota v. Fontes, No. CV-22-

  00509-PHX-SRB, ___ F. Supp. 3d ___, 2024 WL 862406 (D. Ariz. Feb. 29, 2024)

  (striking down Arizona’s proof-of-citizenship law). Likewise, the Seventh Circuit

  twice nullified Indiana policies that would have made possible largescale voter

  purges. See League of Women Voters of Indiana, Inc. v. Sullivan, 5 F.4th 714 (7th

  Cir. 2021); Common Cause Indiana v. Lawson, 937 F.3d 944 (7th Cir. 2019); see

  also, e.g., Wisconsin ex rel. Zignego v. Wis. Elections Comm’n, 957 N.W.2d 208

  (Wis. 2021) (refusing to compel a voter purge requested by an activist group).

        Cutbacks to early voting and absentee voting are two more common voting

  restrictions in modern American politics. These curbs likely reduce voter turnout,

  just as the adoption of convenience voting boosts participation. See, e.g., Paul

  Gronke et al., Convenience Voting, 11 Ann. Rev. Pol. Sci. 437, 443 (2008). But

  these curbs don’t have substantial electoral consequences. “In terms of the partisan

  composition of the electorate,” changes to early voting and absentee voting “seem

  neither to help nor to hurt political parties.” Id. at 444-45; see also, e.g., Daniel M.

  Thompson et al., Universal Vote-by-Mail Has No Impact on Partisan Turnout or

  Vote Share, 117 Proc. Nat’l Acad. Sci. 14052, 14054 (2020). The explanation is

  that the individuals prevented from voting by these policies politically resemble the

  voters who remain able to cast ballots. That is, the policies influence the size, but



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  not the makeup, of the electorate. See, e.g., Adam J. Berinsky, The Perverse

  Consequences of Electoral Reform in the United States, 33 Am. Pol. Rsch. 471,

  482 (2005); Gronke et al., supra, at 444.

         Even though cutbacks to early voting and absentee voting are mostly

  inconsequential, in electoral terms, courts have often stopped them from going into

  effect. The Sixth Circuit first invalidated an Ohio law that would have barred non-

  military voters from voting in person during the three days before election day,

  concluding that this change “unjustifiably burdened” the franchise. Obama for

  America v. Husted, 697 F.3d 423, 430 (6th Cir. 2012). The same court later struck

  down another Ohio law that would have eliminated five days of early voting,

  reasoning that “none of the [state’s] interests . . . sufficiently justify the significant

  [voting] burden.” Ohio State Conf. of NAACP v. Husted, 768 F.3d 524, 549 (6th

  Cir. 2014), vac’d as moot, 2014 WL 10384647 (6th Cir. 2014). With respect to

  absentee voting, when the coronavirus pandemic increased its volume and

  complicated election administration, the Supreme Court allowed a district court

  order to go into effect extending by six days the deadline for receiving absentee

  ballots. See Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205,

  1206 (2020). Also in this period, a federal district court enjoined United States

  Postal Service policy shifts that slowed mail delivery and thus hindered absentee




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  ballots from being received and returned on time. See Richardson v. Trump, 496 F.

  Supp. 3d 165 (D.D.C. 2020).

        Of course, none of these electoral regulations is equivalent to New Jersey’s

  county line system. But that’s precisely the point. None of these electoral

  regulations materially distorts election outcomes. Yet each of these measures was

  carefully scrutinized and then declared unlawful by a court, typically for violating

  the First and Fourteenth Amendments of the federal Constitution. If this was the

  fate of each of these measures, then the same verdict should await the county line.

  The county line, after all, is both more distortive than any of the policies discussed

  above and unsupported by any legitimate state interest. Its unconstitutionality

  follows logically from the illegality of the above policies.

II.     Courts Have Frequently Struck Down Ballot Primacy Laws Far Less
        Impactful than the County Line.

        New Jersey’s county line system is, at its core, a kind of ballot design. To

  date, the most frequently litigated aspects of ballot design have been ballot primacy

  rules: rules requiring certain favored candidates to be listed first on ballots. These

  favored candidates can be candidates from the governor’s party, candidates from

  the party of local officials, candidates from the party receiving the most votes in

  the last election, or incumbent candidates. In the academic literature, it’s well

  established that the top position on a ballot confers a small but statistically

  significant advantage to a candidate. This edge, known as the primacy effect, has

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  been studied for at least half a century. See, e.g., W. James Scott Jr., California

  Ballot Position Statutes: An Unconstitutional Advantage to Incumbents, 45 S. Cal.

  L. Rev. 365, 376 (1972) (foundational study of the primacy effect). As Plaintiffs’

  experts correctly note, the primacy effect has been demonstrated across a wide

  array of elections and geographies. See Compl. Ex. B ¶ 41 (“Evidence of benefits

  for candidates listed first on the ballot has been shown across the United States in

  elections in California, Florida, Illinois, New Hampshire, New York, Ohio, Texas,

  North Dakota, Vermont, and Wyoming.” (internal citations omitted)).

        While the magnitude of the primacy effect varies with the unique contours of

  each election, the thrust of the research is this: Candidates placed at the top of the

  ballot can expect, on average, an electoral advantage between one and five

  percentage points. See Compl. Ex. D, at 14-15. This edge is larger in primary

  elections and in lower-level races appearing further down ballots: both contexts in

  which voters have less information about candidates. See id. An effect of this size

  can swing a close election but doesn’t change most election outcomes. An effect of

  this size is also about an order of magnitude smaller than the huge distortive impact

  of the county line.

        Notwithstanding the relatively minor electoral implications of ballot primacy

  rules, many courts have invalidated these policies. The supreme courts of New

  Hampshire and California subjected ballot primacy laws to strict scrutiny based on



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  the burden they pose to voters. New Hampshire formerly had two ballot primacy

  policies: one requiring all candidates for certain offices to be listed in alphabetical

  order, the other (somewhat like the county line) establishing “party columns”

  grouping candidates by party and assigning the first column to the party with the

  most votes in the last election. The court decided that the federal Anderson-Burdick

  framework applied; and that, under this framework, the burden on “candidates

  running in minority parties and against candidates whose surnames do not begin

  with letters located near the beginning of the alphabet” warranted strict scrutiny,

  which the policies couldn’t survive. Akins v. Sec’y of State, 904 A.2d 702, 707

  (N.H. 2006). California also used to have two ballot primacy practices, one

  favoring incumbents and the other ordering candidates alphabetically. The court

  applied strict scrutiny to, and then struck down, both practices, explaining that “any

  procedure which allocates such advantageous positions to a particular class of

  candidates inevitably discriminates against voters supporting all other candidates.”

  Gould v. Grubb, 536 P.2d 1337, 1338-39 (Cal. 1975).

        Following the logic of either of these cases, New Jersey’s county line would

  trigger—and fail—strict scrutiny because of its enormous and unjustified distortive

  impact. Notably, multiple courts have nullified ballot primacy rules even under less

  stringent standards of review. The Eighth Circuit, for instance, held that a North

  Dakota law that assigned top ballot positions to incumbents was unconstitutional



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  under rational basis review. See McLain v. Meier, 637 F.2d 1159, 1167 (8th Cir.

  1980). The court reasoned that mere “convenience” for voters backing incumbents

  couldn’t justify “burden[ing] the fundamental right to vote possessed by supporters

  of the last-listed candidates.” Id. The New York Supreme Court likewise ruled that

  a ballot primacy law benefiting incumbents had no rational basis. The state lacked

  a valid interest in “affording such favoritism to a candidate merely on the basis of

  his having been successful at a prior election,” thereby “preserving for only the

  remaining candidates the competition heretofore required for all.” Holtzman v.

  Power, 313 N.Y.S.2d 904, 908 (N.Y. Sup. Ct. 1970), aff’d, 311 N.Y.S 2d 824

  (N.Y. App. Div. 1970); see also, e.g., Graves v. McElderry, 946 F. Supp. 1569,

  1581 (W.D. Okla. 1996) (Oklahoma law providing that Democratic candidates are

  always listed first “cannot survive even this Court’s lowest level of scrutiny, the

  rational basis test); cf. Sangmeister v. Woodard, 565 F.2d 460, 467 (7th Cir. 1977)

  (Illinois county clerks’ practice of placing candidates from their party in top ballot

  positions amounts to intentional discrimination); Weisberg v. Powell, 417 F.2d 388,

  392 (7th Cir. 1969) (similar).

        Unsurprisingly, not all challenges to ballot primacy laws have succeeded. In

  some cases, the plaintiffs failed to present “competent statistical evidence or expert

  testimony” documenting the primacy effect. Green Party of Tenn. v. Hargett, No.

  3:11-cv-692, 2016 WL 4379150, at *38 (M.D. Tenn. Aug. 17, 2016). In others, the



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   disputed policy was neutrally structured such that it “neither systematically

   advantage[d] incumbents nor advantage[d] the state’s most popular party.” Pavek

   v. Simon, 967 F.3d 905, 908 (8th Cir. 2020). But neither of these defenses can

   rescue New Jersey’s county line system. The empirical evidence that it

   dramatically benefits candidates appearing on the line is overwhelming. And the

   system is structured the opposite of neutrally—it advantages whomever party

   insiders choose. Since ballot primacy rules to which these defenses are inapplicable

   have been invalidated time and again, the same result should follow for the far

   more distortive county line.

III.     The County Line Is Distinct from a Party Endorsement, Which a Party
         Would Remain Free to Give if the County Line Were Eliminated.

         Finally, the county line might be analyzed relative not to generic electoral

   regulations, nor to aspects of ballot design like ballot primacy rules, but rather to

   party endorsements. Plaintiffs’ experts explain how the consequences of the county

   line and of party endorsements can be distinguished in New Jersey. (This

   distinction can be difficult to make based on election results from county line

   ballots alone, since the county line itself indicates which candidates a county party

   endorses.) First, experimentally, party endorsements can be conveyed to voters on

   conventional office-block ballots. Any advantage enjoyed by an endorsed

   candidate must then be attributable to the endorsement—not to the county line

   system, which isn’t used in the experiment. This approach reveals that “the

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  presence of an endorsement benefit is inconsistent across contests,” appearing in

  two surveyed races out of three. Compl. Ex. B ¶ 134. Second, observationally,

  since some New Jersey counties don’t use the county line, the performance of

  endorsed candidates in these counties can be compared to their performance in

  county line counties. In 35 of 37 races from 2012 to 2022, endorsed candidates did

  better in county line than in non-county line counties. The edge attributable to the

  county line—controlling for party endorsement—was a median of eleven

  percentage points, rising to a median of fifteen percentage points for non-

  incumbent candidates. Compl. Ex. C, at 4.

        The other key point about party endorsements is that parties would remain

  free to make them if this Court deemed the county line unlawful. Parties could

  endorse, nominate, and otherwise support candidates as they saw fit without

  encroaching on the design of ballots themselves. If the state thought it was

  important to communicate party endorsements to voters on actual ballots, that

  could also be done without use of the county line. On standard office-block ballots,

  it could be specified which candidates are endorsed by which parties (or which

  candidates are associated with which slogans). See Compl. ¶¶ 180, 196, 209.

        This possibility of disentangling party endorsements from the county line

  negates any claim that the county line’s elimination would infringe parties’

  associational rights. A party has no First Amendment entitlement to transmit the



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  identity of its endorsed candidate to voters via a state-sponsored ballot. And even if

  a party did implausibly possess this entitlement, the party’s preference could be

  shared with voters, on the ballot, without reliance on the county line. Cf. Wash.

  State Grange v. Wash. State Republican Party, 552 U.S. 442 (2008) (rejecting a

  party’s First Amendment challenge to an electoral system that prevented the party

  from conveying on the ballot whom it endorsed or nominated).

                                       CONCLUSION

        For the foregoing reasons, this Court should hold that New Jersey’s county

  line system is unconstitutional. The county line is far more distortive than many

  electoral regulations—including aspects of ballot design—that courts have

  previously struck down because of their unjustified voting burdens.

  Dated: March 12, 2024

  Respectfully submitted,

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